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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 19-cv-62430-UU

 CARLY BITTLINGMEYER,

        Plaintiff,
 v.

 AFFORDABLE DENTISTRY OF
 SOUTH FLORIDA CORP,

        Defendant.
                                                 /

                                             ORDER

        THIS CAUSE comes before the Court upon Defendant’s Motion to Set Aside Default (the

 “Motion”). D.E. 18.

        THE COURT has considered the Motion, the pertinent portions of the record and is

 otherwise fully advised in the premises.

        Defendant did not timely respond, and the Court ordered the Clerk to enter default on

 November 9, 2019. D.E. 9. The Clerk entered default against Defendant on November 12, 2019.

 D.E. 10. Defendant now moves to set aside the default on the grounds that it contacted an

 attorney’s office within days of being served, but recently discovered that the attorney was not in

 fact its counsel. D.E. 18. Defendant has now retained counsel, who filed a notice of appearance

 and the present Motion.    Id. However, Defendant does not include a proposed answer and

 affirmative defenses along with the Motion. See id.

        Federal Rule of Civil Procedure 55(c) states, “The court may set aside an entry of default

 for good cause[.]” In determining whether there is good cause to set aside an entry of default, the

 Eleventh Circuit Court of Appeals has recognized that courts properly consider: “whether the
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 default was culpable or willful, whether setting it aside would prejudice the adversary, and whether

 the defaulting party presents a meritorious defense[,]” in addition to determining “whether the

 public interest was implicated, whether there was significant financial loss to the defaulting party,

 and whether the defaulting party acted promptly to correct the default.” Compania Interamericana

 Export-Import, S.A. v. Compania Dominicana de Aviacion, 88 F.3d 948, 951 (11th Cir. 1996).

         Here, the Court is not satisfied that good cause exists. The Court cannot determine if

 Defendant has meritorious defenses absent a proposed answer and affirmative defenses.              If

 Defendant corrects that error, the Court will set aside the default. Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Motion (D.E. 18) is DENIED WITHOUT

 PREJUDICE. If Defendant intends to re-file the Motion, Defendant SHALL re-file it, and include

 a proposed Answer and Affirmative Defenses by Friday, December 27, 2019.

         DONE AND ORDERED in Chambers at Miami, Florida, this _16th_ day of December,

 2019.



                                                        ______________________________
                                                       UNITED STATES DISTRICT JUDGE

 cc: counsel of record via cm/ecf




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